      Case 4:22-cv-00297-O Document 14 Filed 04/13/22                Page 1 of 1 PageID 482



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 JOHN DOE,                                        §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §   Civil Action No. 4:22-cv-00297-O
                                                  §
 TEXAS CHRISTIAN UNIVERSITY &                     §
 VICTOR J. BOSCHINI, JR.,                         §
                                                  §
          Defendants.                             §

                                              ORDER

         Before the Court is Plaintiff’s Unopposed Motion for Leave to File Appendix Under Seal

(ECF No. 5), filed April 13, 2022. Courts presume that judicial records are to be kept open to the

public. United States v. Abdullah, 2009 WL 2246156, at *2 (S.D. Tex. July 24, 2009) (citing Nixon

v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)). But the public’s right to access court records

is not absolute, and district courts have supervisory power to seal documents if the interest favoring

nondisclosure outweighs the presumption in favor of the public’s common law right of access.

SEC v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993); Test Masters Educ. Servs. Inc., 799

F.3d 437, 454 (5th Cir. 2015) (citing Nixon, 435 U.S. at 598).

         The Court finds that Plaintiffs have demonstrated good cause to file the records under seal.

Noting the motion is unopposed, the Court GRANTS the motion and DIRECTS the Clerk of the

Court to file the exhibit attached to the motion (ECF No. 5-1) under seal as Plaintiff’s Appendix.

         SO ORDERED this 13th day of April, 2022.



                                                        _____________________________________
                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE
